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EXHIBIT A

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:Govswmw --
` -EXHIBH§ '

' 119`1;.1'] _ _ _
; _ 52 14 §r.`azcz~ iam -

 

2 DATE: 06f27/20f3

3 ST.r-\RT TINEB: 0758 ED'I`

4 E)URA'E`ION: 01143:00

5 PAR'[']C!F'ANTS: DR. MIRH,ASI'}VELI

6 CONFIDENTIAL SOURCE
7 a/k/a CS

3 ABRAHAM CORREA

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\J

6

IBEGENNFNG OE`-` CONVERSATION}

[UNDERLINED WORDS SPOKEN IN iENGLISHI

DR. MlR_lLASH`\/El,l:

CORREA:

CS:

CORREA:

CS:

DR. MIRELASHVILI:

CORREA:

CS:

DR. MIRELASHV[LI:

CORREA:

DR. MIRILASHVILI:

CORREA:

CS:

[BACKGROUND CONVERSATION]

La Amigua Jose. [UN\NTEI,.I,,IGIBLE] Come on, come on_.
now. {UNIN'E`ELLEGEBLE} Do von sgeak E:ig|ish?

Do you understand Engiish?
A ii;'t§c.

This Dr. Michael Mirilashvili. Hc’s the pain docior. He`$ going to
read your records then hc`S going to show you the problems you
have in the diagram 'i`hon ho`s going to teli you what he can do for
with and give you the remedy

Oka_v.
He has to gav for the visil.

Now you have to pay him for the visit IPAUSF.} "l`wo hundred
dol!ars. And this is your recoipi for the rccords.

Okay.
Thank von sir.
'l`hank you E:PAUSE].
EUN]N'}`ELL]GIBLE`]i need some time to read this oaper.
Givc him a minute so he can road your, your [_PAUSE]
{VOECES oVERLAP}

()§1, okay

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1 CORREA: [PAUSIE] papers.
2 [BACKGROUND: VOICES_._ TELEVISION SET ON, COUGI~HNG]
3 [i,ONG PAUSE]
4 DR. MIRILASHVIL[: ()E;av_ come to me glease.
s CoRREA: Gei up. 1~1¢’.-, going m ijUNiNTaLLIoiBL!;].
6 DR. MIREE.,ASI~IVII.J: QQU.
'F CORREA: Got closer.
8 DR. MIRILASHVIL[: Come. Thi$ is vour l'PAPl`£R SHU["`FL!NG] skeleton ol`
\»'our bones.
10 CORREA'. This is the Skcioton of [PAUSE]
ii {VOECES OVERLAPE
12 CS: U]i-huh.
13 CORREA: [PAUSE] [NOISE] ot`,vour bones.
14 DR. MlRlLASl-Wfl.l: What l woqu do right now l wiil goint to \'our attention
15 Wliich oart of" the bone. muscic. §iaaments are involve in
16 vour probleml
1? CORREA: Riglu' now hc’s going to point out to you where you have your
18 muscle and bone problems.
19 CS: Uh»huh.
20 DR. MlRlLASl-IV!LE: '[`hen I will ex iain to Vou wliat’s nine on wron<_f.
21 CORREA: `f`hen h\-:’s going to explain what"s wrong with you.

22 DR. MIRILASI'IVILE: ()ka\" and aftezP the examination l will discuss with von

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l\.)

U'l

CORREA:

CS:

DR. MIRll..ASl-lVlf.i;

CORREA:

CS:

DR. Mll{}LASl-l\/il.l:

CORREA:

DR. MIRILASHV[L[;

CORREA.'

DR. MZRELASHVH,I:

CORREA:

CS:

DR. Ml'RILASl'l\/ILI:

CORREA:

CS:

DR. MlRll..ASi-i\/ILI:

CORR[SA:

what l can do i`or vou.

A{ier tie examines you hc’l§ tell you what he can do for
you.

Okay.
You sce this brown color bonc‘?

Do you gee thc, the brown bones that are lhere?

 

Yes.

'E`his is voor vertebrae
That’s what‘s called vertebrac. ..

[VOICES OVERLAPl

You have twentv-t`our. . .
This one here.

...boncs like this make that be the entire Spirle.
You have twenty-four bones that make up your spine
Uh-hoh.

You sec the yellow light floid‘?
Do you see the yellow here inside tlic, the bone?
Uh-huli,

'l`lzis is vour c!isc.

That's what*s called the discs. 'l`hat. . ..

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in

i()
I7

DR. MIRll`,/\SE'EVIL{:

CORREA:

CS:

DR. MlRiLASl'lViLi:

CORREA:

DR. MiRll,ASl`I\/ilall
CORREA:

CS:

DR. MERI[JASI-IV!LI:

CORREA:

CS:

DR. MlRlLASH\/'ILI:
CORREA:

CS:

DR. MlRlLASl-l\/EL[:

{VOICES OVERLAP]

‘i`his kee kee in 1 each vertebrae awav PHONET]C and
working as a cushion and absoivent when vou`re standing
sitting or waiicing.

 

'i`he disc works like a Spongc that. that keeps the bones separated
so it can hein prevent them l`rom coming together.

Okay.
Do you see these tinv lines between the bones. tinv...
|VO.ECES OVER.LAP[
Do you sec tile.._

1.ines'?

 

Do you See ihe. the line he"S showing you?
ch.

Tiiis is vour iacel ioinl. the limine lPl-EONETICE from the
neck ali the wav down

Tiiat’S what‘$ coiled facetjoint. which runs from the top to the
bottom.

Okay.

Do voo. do \ou see this dark brown color soots here?
Do you see the brown lie"s showing you rightnow?
Yes.

Uli. ves‘?

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|\)

 

 

 

 

 

CS: Yes.

l)R. M!RiLASi*l\/il,l: Sacroiliac ioint. rE`his is sacroiliac ioint.

CORREA: rl`hose arc called sacroi|iac joint, that"S what it"s cailed.

DR. MiRiLASH\/ILH: Now. the main function of" these two ioints when
there normal. when thev’re flexible are groUrt\_' hold and
earrvinu all the loads comian from the s ine.

CORREA: 'l`he, the Function ot` the two bones he showed you is to hold the
weigh front top to bottoni,

CS: ()kay.

DR. MiRll_ASi-EVILI: Do vou see this opening here and nerve corning through?

CORREA: Do you sec the openings ri ghi there? That’s where the nerves go
through

CS: Uh~hnh.

[VOICE.S OVERLAP]

DR. MlRlLASHVlLl: 'i`his is your spinal cord.

CORREA: Tiiat’s what’s calieci the spine.

DR. MlRli./\SHV§`LE: Your spinal cord are the huge trunk containing x number ol"
the pair nerves. give the branches to the leli side. give the
branches to the right side.

CORREA: “i`iirough your spinc, through [UNlN'l`El-LiGiBLE] nerves which
go through both left and right side ol` your [PAUSE}

DR. MIRELASHVELIZ This is vour

[VOICES OVERLAP]

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l CORREA: ...bones.
2 DR. Mll{lI.ASl-[ViLl: garasoinai muscle runnins_» l`rom the neek, neck oil the
3 way down.
4 CORREA: 'l`hat"s What’s called uh, garnsp_inal muscle which runs from your
5 neck re your waist down.
6 CS: Oi<ay.
7 DR_ MIRILASHVII.,I: "I`he usual function of" this muscle is a full suggorl of your
8 spine
9 CORREA: hs function is to lNOlS£-l] hold everything in hs place.
10 DR. MlRlLASi'i\/llsl: Now. what`s eoin,a on wrong? Now_ look EVPAUSE}
ll CORREA: Thc.,. L_PAUSE}
§§ [VOICES OVERLAP`]
!3 DR. Mll{lLASl'I\/ll_if: herc,
14 CORRl.-`.A: ...probiem you have
15 DR. MIR!LAS]'IVIL{: 'i.`his is the lumbar lPHON}?,TiCl spine one. two. lhrce.
16 fours live.
17 CORREA: l`hal’s horse l,l , 142, LB. four and five.
18 E)R. MlRII.ASI-E.VILI; Alriuln? fUNiNT Elsl,lGlBl.liil what this savs. your disc
19 with this yellow iluid_ which is nrooer_ properly hold bv
20 four lieament. one oi`flic liuamenls is rugtured and this
2§ fluid is leaking out.
22 CORRI€A: What’s happening lo you is lhar, what he’s saying is that your disc
23 is leaking, the fluid leaked on the side and now you have
24 both bones corning togellier_

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17

DR. MlR!LASl‘i\/ll)l'.

CORREA:

CS'.

DR. l\fllRlLASl~lVlljl:

CORREA:

DR. MIRILASHVILI:

CORREA:

I)R. MlRli_.ASl-Wll.,l:

C()RRF.A:

DR. MlRlLASI‘I\/ll,l:

CORRISA:

DR. MiRlLASl~IVlE#i:

CORREA:

 

When the disc is none or `UNIN'I`ELLEGEBLE uh_ alone
the ve;tehrae sli in §or\vard lB\ii`N'l`E`.LLiGlBLE
vertebrae

W hen that happens both bones come together l`rom top to hotlorn.
Uh-hum.

And nerve coming through on the left side and rieht' side is
in trapp_e d fl’HON[-I'l`lC {.

What can happen, the nerve that goes through right side and the
lef"t side gets pinched.

When the nerve is in trapped |l‘HONETIC| you l`eei
numbness and tingling sensation in vour tower extreme
ll’HONETlC'].

When that happens you feel your legs numb, you feel like a1 iike a
tingling sensation.

At"ter this l'BACKGROUND: NOlSE`l disc
UNlN'i`lELI.lGlBi,.IS your `oint. 'our facet 'oint and

 

sacroiliac foint become hvpertrophic §Pl»li.

When that happens the facet ioint and the sacroiliac joint get hard.
[UNENTELL!GEBLE].

What this means t`or vou... ifthis. this [Ull this liua!nents
cannot hoid the. all the weight is coming from the spine.

What that means is that with your weight it' doesn"'t hoid front the
neck down.

Because vour [UNINTELI-EGIBLE.} your lower back
{PAUSEl

When that happens in the middle ot" what he just showed you ...is
that you have .. [NCIISE], you have the problem

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l\) l`J id
t_) -

va

DR. MIRll,/-\Sl‘lVll,l: l;i’AUSlS_] and the, and the severe lower back pain.
CORRBA: And you get a lot ol"in the [PAUSE]

[VOICES OV§`:`.RL,AP]

DR, MlRlLASHVELl: So numbness [PAUS E}
CORREA; {PAUSE`] {UNiNTELLlGl~`.NT][l’/\USE]
DR. M`lel,ASl-l\'il..l: [PAUSIE] numbness corning from the nerve

[UNI"NTELL]GIBL`E} and pain coming Froni the facet and
sacroiiiae joint hypertrophy.

COR.REA: That you get numbness on this side of the leg and then the muscle
getsr gets hvp_crtrophv.

DR. MIRILASHVILI: Your spinal cord becomes spasmodic. What' this is means.
everv morning you may experiencinu stit`l`ncss in vour
lower back.

CORREA: thn that happens... what happens is that__ that your spine
becomes spasmodie and then in the morning you feel that in
the bottorn. .. you, you get a lot of pain where you can

barely move.
DR. lvilRILAS}-IVILI: Anv guestious?
CORREA: Do you have questions t`or hint?
CS: No, is okavl understand
CORR£A: Okav. thank vou. [RUSTL!NG SOUND} [UNIN'I`ELIJEGIBLE

CONVERSA'I`ION} No\v he’s going to ask you a couple ol`
questions now,

[BACKGROUND: NOISE}

DR. MIi{i.l.ASl-Wll..l: What he needs. he needs a llNiNTELLEGIBl,E . sit down

 

and take care of all the patients rieht?

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l CORREA: §LAUGI-IS}
2 CS; 1`CI'IUCKLES]
3 [PAUSE]
4 DR. Mi`RH,ASi'i\/il.l: O§<av. l`NOlSE`{ Now_ i`ll ask a question you unswerto nw
5 questions For. in your fower back gains Sittino down.
6 which lcn. left or right?
CORREA: 'i`he pain you get in yonrT in your back goes through, through your
8 Eei`t or right leg?
9 CS: So:netimes both When lyPAUSl_-`,]
10 {VOEC`ES OVERLAE’]
il DR. MLRELASHVILI: Both sides.
12 CS: When {UNINTELLIGIBI.,E].
t 3 CO RE{EA: Yeah.
14 DR. MlRILASH\/ll_l`: Both sides.
15 CORREA: On both sides.
16 DR. MIRH,AS]']VEL]: But more where, the left or rieht?
17 CORREA: it happens more on which one?
tS CS: On the left‘.
19 DR. M`lRll.ASH\/ll,l: Let`r. I"NOISI:ZI So {UNINTELLIGIBLEI {PAUSEl
20 CS: |:COUGHING}
lt DR. MIRILASHV!L!: [PAUSE] [UNlN'l`EL,l..lGIBLE] on the. the left sides...
33 right sides

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t Cs; {Couonn\ioi

Ol-cav. This ain travels above the knee or run all the wa ’
down to vour toe'?

   

2 DR. MIRILASI'IVH.J:
3

 

vt CORREA: The pain runs down to your ankle over here or does it

5 continue down to your toes‘?

6 CS: No, up to the ankle

7 CORREA: Up to the knee.

8 DR. MIRHJAS}‘IVII,I: Above the knee. Above... the knee Your pain travels in the
9 l`ronL insider outside or behind?

10 CORREA: Your pain runs on top, on the outside, on the inside or in the back‘?
1 § CS: Inside.
12 CORREA: “l`he inside

§3 DR. MERILASHVILI: lnside. Ctm von ask [l’AUSE`}
14 CS: [COUGE~ES]

15 DR. MlRll_,ASl\l_V[l,I: |PAUSE] how lone he got this gain?

 

16 CORREA: How long have you had this pein'?

17 CS: lt"s been n while already rl_”t,l_\_<_:' [PAUSE]

18 CORREA: Lilte how iong?

19 CS: I think it"s been more than, almost eight months or n year.

20 CORREA: About eight months

21 DR. MlRlLASI-EVILI: Now. describe me... uh. ask him to describe to me... does
22 he l`cei hot burning sensation. electrical nuisatinn sensation

 

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l\)

CORREA:

CS;

CORREA:

DR. MIR]LASHVILI:

CORREA:

CS:

CORREA:

DR. MIRILASI*IVILl:

CORREA:

CS:

CORREA:

DR. MIRILASHVILI:

CORREA:

DR. MlRll.ASI'lVlLl:

or shocks shooting stabbing iNOlSt`£i nains?

Do you t`eel, iike__ clectricit:y, like ifit’s burning or like stabbing‘?
I-low do you feel‘?

l,ike, fike electricity and iike, like shocks
Electricitv and like shocks.
[PAUSE]
What was the cause ot`his_ his groblem eight months ago"?

What happened to you eight months ago that now you have that
problem?

A l`ali.
He tell tiown.
Whe. where?
Wherc‘.’
U:n. .. piaying basketball.

Plaving basketball

S ort in`ur '. `PAUSE ()k.avv Now. anv... hos ital? 'l`he\-"

 

they took him hospital...
E`VOICES OVERI.,AP}
Did you go._ did you go...
[VOICIZS OVERLAP]

After that?

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l»|l\l

.I`_

U\Ul

ll
17

13

CORREA:

CS:

CORREA:

DR. MlRlLASHVILl:

CORREA:

CS:

CORREA:

DR. MIR!LASHVlLl:

CORREA:

DR. MlRiLASl~-IVIL[:

CORREA:

CS:

CORREA:

CS;

'l`o the hospital for that?

Uh, yes... to the hospital and then they sent me to some place and l
never went, {NOISE`] but I Wont to the hospita!.

lie went to the bos . ital and then they sent him somewhere else but
he didn’t act to no to the other piece they sent him to
because he they told him to no to the other nlace.

   

So they didn`t sec him in the hospital?
Did they sec you in the hospitai?

Yes, but... uh... they told mo to wait_; they saw me and l waited,
but l had to work and l lett with the pain. l had to go back.

He went to the hosnital FBACKGROUND: l"lii.EPl-IONE RINGSl
and they saw him. but he eouldn't stay lonn. I-fe had to ao.
he had to iPAUSE}

{rVOlCES OVERLAP}
M__/l~.u£i.wsh---
[VOlCES OVERLAP`E

E'Ie needed to ao to work.

Which hosgital?
What hospital did you go to'?

{BACKGROUND: ”l`ELEi’l-EONE RlNGSl

'i`o l-Iariem.
Harlern Hosgital?

Yeah.

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!'-J

LN

U\

DR. MIRILAS£"IVILI:

CORREA:

CS:

CORREA:

DR. MIRILASHVILI:

CS:

I)R. MlRlLASl'iVlLl.'

CORREA:

CS:

CORREA:

CS:

DR. M lRlLASH\/'ll¢l:

CORREA:

CS:

CORREA:

Okay, W!iat medicine he’s taking for this nain'?
What medication are you taking f`or tliat?
'l`hat the uii... M._ M30 [Pl'l}.
M, M3O {PAUSE]
Oxycod one
]:VO!CES OVERLAPj
‘r'eah. yeah. yeah

Oxycoc!ozie. Alri lit. i~!e’s aller ic to any medication?

 

That ifyot:’re allergic...

]:VOICES OVERI..AP]
No.
"l`o amy medication?
Uh~tth.

[PAUSE}
Any medical grotilcm?

That it`you have any medical problems [E’AUS E}

[VOICI§£S OVERLAP]
No, no, rio, no.

D§abetes, I"lepatitis‘? No?

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1 DR. MIR}.LASi-SVILI: E.-i`egatitis l`f’AUSE]

3 CS: No.

3 DR. MlREl\.ASl'i\/ll..l: §§_\f§

4 CS'. No.

5 DR. MIRELASHVILE: .la f'l’AUSE}

6 CORREA: B!ood pressurc‘?

7 DR. leUlJASl-EVZI.`E: .la |PA USE§

3 CORRE£A: Asthma?

9 CS: No, nothing [PAUSE]
10 DR. MiRILASHVfLI: Drue [PAUSE|
lt CS: [PAUSE] nothing
12 DR. MlRll.,ASl-{V!Ll: i'PAUSEl abuse'?
13 CORREA: 'Fhat it`yol.t, if_you use drugs`?
14 CS: No, no. {`BACKGROUND: TEI,EPHONE R}NGS} [COUGHS}
15 DR. MERIIASllVlLl: An); surgery any or_)§rations?
16 CORREA.‘ That it`_you’ve had um._ operations [BACKGROUND:
17 TEI,EPHONE RENGS] be.i`ore'?
13 CS: No.
19 [I’AUSIS]

20 DR_ MlRlLASI-IVILI: l-le"s marl'ie<j. sine|e‘?

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1 CORREA: Ifyou’re married or sing!e'?

2 CS: Uh, single

3 CORREA: M

~1 DR. MlRll.ASl-EVIE_.E: Children?

5 CORREA: Do you have ehildren‘?

6 CS: ‘1’esT three.

7 CORREA: 'l`liree.

8 DR. MlRlLASl‘iVlLi: in his family anybody has a stroke_ cancer_ diabetes`?
9 CORREA: In your family is there anyone with cancer, diabetes?
10 CS: No.

11 DR. MIRll¢ASl»lVILl: Heart groblem. high fl’AUSi£E
12 [VOICES OVERLAP}
13 C()RREA: Are there any problems [PAUSE}

14 DR. MlRllu.ASl“iVlLl: [PAUSE| blood gressure?

 

15 CORRl-€A: [_PAUSE] with the heart1 high blood pressure'?

16 CS: No. IPAUSE} Family’s fine

17 DR, MIRILASI'WH.|: That`s. lNOlSE`\ out this one in your pocket. the oaner.

ts CS: Oh, ekay.

19 CORREA: Ptlt the paper ttway..` [RUS'¥`LENG SOUND] and stand up because

20 he’s going to examine you.

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la

DR. MIRELASHVELE: Okay. right here. [RUSTLING SOU'ND]
[UNENTELLIG[BI-ES (_"ONV ERS A'l"lON}

   

 

DR. Mli{ii.ASl~I\/lisl; Stand ug. stand ng_
CORREA: Stand up,
DR. MlRiLASl-WELI: ' 1 UNlN'l`El,LlGlBLE . NOJSE Now. walk l`orme.
CORREA'. Walk From the wall and then... Walk, turn around and walk back.
[PAUSE]
DR. MlRlLASH\/il_.l.: "l`urn aronnd. bend oyer.
CORREA: Bend over.
DR. MIRlL/\Sl~lVil.l: Ol<ay_ that"s nood. Bend to the right side.
COR.R_EA: 'l`o the right 'l`o the li’AUSE}
[VOICES OVERLAP}
DR. MlRlLASl-lVlLl: To the left l`PAUSE[
CORREA: [PAUSE] left side.
on. MrRtLAsn\/ILI; ;PALJSE} §_ig_e_.
CORREA: Giye him your [`PAUSE]
DR. MlRll.-ASE‘{VII.,I: Give me EPAUSE|
CORREA: [PAUSE] hands.
DR, MERILASHVILI: [PAUSE} give me your hands Stand on your heels.

 

CORREA: Stand like him. with the back of _your f`eet. W ith the back of }-’onr

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1 feet... Uh~huh.

2 DR. MlRlLASl~lViLl: [UN!N'I`ELLIGIBLE} l`i’AUSl-f]

3 l'VOlCl`£S OVERLAP}

4 CORREA: With your toes.

5 DR. Mlle.iASH\/ll,l: [PAUSE] and your toes.

6 CORRE`A: Stand on your toes.

7 DR. MlRllJ/\SHVIL[: You got poor coordination because is no good blood

8 circulation Ooine to the rieht_ to the lel`t.

9 CORREA: Uni, when, when you stand you haye... your circulation is bad,
10 since you have a pinched nerve, that’s why you can
11 [PAUSE]

12 {VOlClES OVERE,AP]

13 CS: Uh-huh.

14 CORRI£A: Usc the stairs sit down here and out your lea

15 t.}NlN'I`lEI-l..IGlBl..E PAUSE} barely stand.

 

 

 

16 DR. MIRILASl-IVILE: Use the stairs sit there and put your feet forward

17 {RUSTLING SOUND]

18 DR. 'MlRlLASH\/llol: Press. ross `Pl'lONETiC .

19 CORRI`;`A: Move [UNENTELIJ{GIBLE].

20 {RUSTLING SOUND]

21 DR. MlRlLASH\/ELE: Rela\'. relax, \’ou`re doing §'ine.l'lold itt hold it.

22 lRUS'l`LlNG SOUNDl l`UNlN"l`El,LiGEBLl`Zlvaricose
23 \_ei_ni

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mh

CCQ*-QU\

C()RREA:

l)R. MfRIIJASl-‘[Vlisl:

CORREA:

DR. MlRll.ASH\/ii_,i:

CORREA:

CS:

CORREA:

CS:

CORREA:

DR. MlRllsASHVlLl:

CORRIEA:

You have varicose veins, which are bad.

 

()i;av. this oain. this varicose is aivina him the swelling and
giving the pain when he’s \yaikine.

When yen walk... when you`re vein is fike that your legs swell up
and you get pain_

And be carefui with this vein to iumo around because
\yhat’s going on. this biood clot can uh. .. travels in your
heart. in N()FSE your iuna. it =ives ou heart attack or
Stroke.

   

You have be earef`ui with running or jumping because ifone of
those gets_. gets damaged it can go up to your heart and give
you a stroke

[BACKGROUND: NOlSE]
Yes_. but l don"t. don’t have pain

lite sav he don’t he having pain over there. tie Says it’S bad because
it’S swollen

Oh_. \'eahl Uh»huh, [UNINTELUGIBL]E].
lie said that he doesn’t reatiy be having pain there though But l'in
exoinining to him that you said that thev"re. they bad

though so he eotta be caret`ui with them.

Uh-huh. Don’t scratch. let hint know. uh_ uh. let. let me
know il` he feel this about the same. Eess or niore.

[BACKGROUND: NOISE]

i“le”s going to move your leg You have to tell him ifyou feel it
more, Eess or the same.

innusr~,]

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id

La.l

19
20

CS:

CORREA:

DR. MlRil,ASl-IVILI:

CS:

CORREA:

CS'.

DR. MIRlLASl'lVll,l:

CORREA:

DR. MlRlL/\Sl"lVll.l:

CO l~lRliA:

DR. MlRlLASll\/lisi:

CORREA:

DR. MlRli..ASl-Wll,i:

l teel it more.
You feel it more on this side? lie feels it more on this side.
Don’t move your lea glease.
iV()lCES OVERLAI’I
Okay.
Don"t move your leg.
[LONG PAUSE]
|NOISE]
[UNlN'l`ELLlGlBLEj.

Solets sayrnore.l’ush 'our OISE le"u aaainstmv

|'PAUSE]

   

ML§W€WFM}
Lift your leg [i’AUSE]
|`E’AUSE} hand.
E`PAUSE} against his hand.
This one. So. less power on the ief"t' side_
You have less power on the, on the {PAUSE]
[`VOlCES OVERI.,AP]

Set your lea straight No\,v. bend your knee and let me see

EPAUSE|

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1 CORREA: Bend your knee [l’AUSE}

2 DR. M`ll?.lLX-\SHV!LK: jPAUSE| this way |`PH [.

3 CORREA: i`PAUSE} against his hand.

4 DR. lvilRlLASi~lVlLl: Okay. Straight!

5 CORREA: Raise your leg.

6 DR. MlRlLASi-W]LI: Now bend

7 CORR}ZA: Now bend it.

3 DR. MlRll,ASl'l\/ll.l: No roblem on `NOiS'E` the left. Verv interestin .
9 CORREA: [UNIN'I`ELLIGIBLF.].
10 DR. MiRlLASHVILI: iPAUSEl Well. you 1201 datnaue on both sides. This nerve
tt UNINTEI..l.lGiBLE` both sidesl
t2 CORREA: Your nerves arc uh` damaged on both sides.

t3 l)R_ MlRiLASI'lVELI: And he ot no sensory here. OISE in the right side.

       

 

 

14 CORREA: You have no sensor on the right side.

15 DR. MIRilsASl~l\/ilsl: And... but you aot the rieht motor function on the right

16 side_

17 C()RR,EA: The. .. motor. the motor on that side are functioning more than the
18 ones on this side.

19 DR. MlRILASi-WILI: lie has noch nh. less motor function on the lett side and
20 good sensory on the lett side.

2§ CORREA: 'l`he motor on this side uh, is better, but... is worse. but the sensor

33 is working better.

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00'-)0\\1\

18
19
20
'7i

DR. MIR}LAS{"IVILI:

CO RR.EA:

DR. MIRELASi'iVILl:

CORREA:

CS:

DR. MlRlLASl'i\/ll.l:

CORREA.'

DR. MIRI.LAS}'}VILI:

CS:

DR. MIR!L/-\SHV{LI:

CORREA:

l)R. MIR]LASHVELE:

CORREA:

Okav. listen to me... il"l Would be von l would think nbou€
the surgery as soon as gossible.

i`l`he was you he thinks you shouid have surgery as soon ns
possible

Beeause... Yes_ snreerv. Becnnse von l`e|i. because vour

nerve was rtnnbiing. Your nerve was damaged and becnnse
when you nlavimz l'NOISl-Ii von don"t feel the leg and von
fell.

Okay, when you fell... because your. your nerves ore damaged on
one side which was when you fell when you were playing

Okay.

You understand? So whatl \vill do l"irst. l`il give von
enough znedica§'ion io keen you coinf`or:able.

He"s going to give you enough medication to, to keep you cairn.
Nuinber two [`PAUSEE
[VOEC¥£S OVER.l./\P]
Alright, alrigln'.

E`PAUSEl number i\\-'o. l’li refer von to a specialist uh. uh.
we call uh... interventional ain cnanavemenf and nn
orthonedie doctor to see il`thev can remove tile cause oi`

vour roblems.

   

I'le"s going to give you n referral to see on intervemionai doc!or and
an orthopedic doctor to see {RLISTL¥NG SOUND} if lie
can fix [PH] the, t!ie. the problem you have.

I’l[ send von l"or rehabilitation theranv. livdro therar)v_ to
rebuild vonr muscle rehuiid vour lignments.

He’s going to send you to another therapist that’s sailed hydro

 

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\.¢Jh.)\-

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13
16
i?

§3
§§
26

thera_rgv, ihat’s a doctor who’s going to sec you in thc, in die
pool so that way it, it can help your muscles and ligarnents
get stronger.

 

DR. MlRIl.ASI-lVlLl: No\v. what vou have to do. number one. weight loss.
CORREA: Number one. he wants you try Eoosing weight
DR. MIl{lLASl-lVlLl: As much as possiblel ll’AUSlEl Nurnber t\vo. do not iump.

 

do not run. no more basketball.
CORREA: Don’t run, don’tjump and don"t play any more basketball

DR, MIRILASI*!VIL!: Anv time vou’re iumnina` running von will displace the
disc more and inore.

CORREA: Il` you keep playing your disc wiil: will continue to come out more
and mor€.

DR. Ml.RlLAS l-l VlL`l.l: Okav?
CS: Okav.

DR. MlRll.ASi"l\/ll_.l: Now. do not lii"t or carrving anvheavv loads lf` vou carry
anv heavy loads vou’re squeezing your damaged nerve
more and more.

CORREA: Don`t lift weights, don"t lift weights, heavy uh, things or anything
like that because iike that you`ll put more and more weight
on your spine

DR. MiRILASl'lVlLl: Oltav?
CS: Oicav.
DR. MIRllJASl-IVELI; No\v. nain. Pain docsn’t matter where is originaie from. lt

 

has to go from peripheral [`i'l-l] to sninai cord [PAUSE`i

CORREA: lt doesn’t matter where the pain is l`rom. it will always go to
the back, to_ to your spine.

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l\J

12

13
14

l~J l~»J id l\J {'J
C\ '-J'l J'- L»J !\J

DR. MIRILASI~IV[LI: l"rom sinai cord it has to o to vour brain PAUSE
CORREA: E-`rom your spine it will go up to, to your, to your mind
DR. MIR]`E,AS}-Wll_;[: From brain is compute to receive. analvze information and

sending the pain where it"s supposed to be.

CORREA: Your mind works like a computer and then your. your mind sends
it back to your spine where the pain is.

 

 

DR` MIRll,ASi'iVlLl: Because vour pain is lasting more than six months
iPAUSl`:`E

CORREA: Because you’ve had your pain f`or more than six months lPAUSE}

DR. MlRiLASi-lVILl: iPA.USEl your pain become chronic pain.

CORREA: IPAUSE] your pain is chronic

DR. MIR£LASHV]LI: T`o orooerlv cont'roi vour chronic pain l have to shut down

 

your pain and spinai cord to give von the Neuront'in
EI’HONE"FEC}§ hundred mitligram. twice a dav.

CORREA: l-Ie’s going to give you Neurontin [PI"ION}ETlC]... lio\v manv
miiliarams. a hundrcd?

DR. MlRiL/-\SHVIL}: A hundred

CORREA: A hundred milligrams, two pills a day so_, so your pain can. .. go to
sleep quickly

DR. MinLASl--{Vll,i: '[`o shut down your descending nain EUNIN'I`ELLIGEBLEI l
have to ive vou Eiavil ten milliararns. twice a dav.

 

CORREA: l"Ie’s going to give you um_. Elavil um... ten milligrams twice a
day So it can help you too.

DR. MIRELASI~EVILI: i’m giving von the Oxvcodone. thirty milligrams three
weissan
iUNIN'l`i'-.`Ll-i(ilBLE`plseendin_g pain as the immune

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1 Il’l-IONE'l`lCl reeeutor in the brain.

2 CORREA: And he`S going to give you Ox}-'codone, thirty milligrams three

3 piils a day that way it’ll put the pain to sleep completely

4 CS: Uh»huh.

5 l)R. MlRlL/-\Sl"iVll_,f; Anv guestiou?

6 CORRIEA: Do you have a question 1`or him‘?

v Cs; No [PAUSE]

8 [VOICES OVERLAP}

9 DR. MIRILASHV!LE: And. and |PAUSE`[
10 CORR‘EA: IPAUSEI no.
1 1 DR. Nlll{llASliVlLi: I`?AUSEl muscle relaxant. Rohaxin. to reduce vour muscle
13 §IM
13 CORRF,A: And he"s going to give you... Roi)a_\cin. which is for the museies so
14 it can help you with the muscles
15 DR. MiRiLASu\/Il.ll: QLa_\g
16 CS: Thank _vou, sir.
17 [RUSLT}NG SOUND]
18 [LONG PAUSE]
t9 DR. MlRILASl*[Vil.[: Which hospital do vou want to go to be seen bv a

20 sYeiaiist?
21 IVOlCES OVERE.,AP}

22 CORREA: [CLEARS 'E`l-{ROAT]

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l\J

DR. l\’llRll,/\SHVELE:

CORREA:

CS:

CORREA:

CS:

DR. MlRll.ASl'l\/il.,l:

CORREA:

DR. MlRlLASlIVlLl:

CORREA:

DR. MlRlLASl'lVlLl:

C.OREU`:`A:

DR. MIRILAS}'IVELF:

CORREA:

CS:

CORREA:

D`R. MlR.lLASI~I\/ll.l:

PAUSE§ sgeeialist?

What hospital do you want to go to, to see the specialist‘?
Anyonc.
Where should he put you, in Man. in Manhattan or in the m?

Where `PAUSE

[voic;:i:s OVERLAP}

lie Said [PAUSE]

lPAUSEE in befoth Sinai.

{PAUSE] Ma.n [I’AUSE`}

§PAUSE} 1UN1N':‘131.L101131,E.},seth israe:. where
[PAUSE}

Noi no EPAUSEE
{PAUSE] you want‘?

EPAUSE`l he wants to Eo in Manhattan. Urn, Si. l,ukes.
Presbyterimt [UNINTEI,,LIG]BLE] [PAUSE]

§VOICES OVERLAF]
Uh-huh.
St. Lukes?

St. Lukes. veah.

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!\.?

li)
l§

]'7

13

§§
§6
17

050

t-JlJlJ
Q`\ J`_z.b) l\J-'»*CJ

id l\J l\) id i\)
U\

-é

CORREA: SL Lul~:es.

PAPI,"IR Si'lUlil"`l..lNG SOUNI)

   

{l.,ONG PAUSF.]
DR. MiRlLASl»l\/ELI: What’s nom on? Whv rhc\r am utath 'PHONE

lEOiSEE fUNIN'FELLIGIBLE|_}`BACKGROUND:
TELEFHONE RENGS] [UNINTELI.!GIBLE].

   

 

CS: {`COUGHS]
DR. MlRlL/\Sl-Wii;,i: Look here. I’rn sending vou l'PAUSEi
CORREA: Comc, so you can sec what hc’S doing

DR. MlRlLASi'iVlLl: EPAUSEE t`or hvdrotherag. v swimming pooE[COUGHSE to
rebuild vour muscle and rebuild vour ligameuts.

COR.REA: '[`he one he marked there is called hydrotherapy. That"s therapy
they're going to give you in a pool to help you with your
muscles and your ligaments.

DR. MlRlli.ASl-‘IVEI,l: I’m sending you l`or interventional pain management
doc-tor, specialist, to see il` they can remove the cause of
your problem.

CORREA: That"s the interventionai doetor. l~lc’s going to send you there to
see ifthey help you with the pain you have

DR. MlRlLASl-IVILI: And this is l"or Orthopcdie doctor to see it`nothinsz works.
then Ctrthonedic doctor has to consider to do the suraerv to

retrieve the nerve ent.rapments EP}-l |.

CORREA: ”l`hat'"s the, the Ortitopedic. If` nothing else works for you, you"il go
See him to see il`thcy givc: give you surgery to help you.
Now, the numbers he"s putting in the bottom indicates the
problems you have so that when the doctor sees that he’ll
know the problems you have.

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l~.\

CS:

DR. MlRlLASl‘{\/i.i.f:

CORREA:

DR. MlRlLASHVILI:

CORREA:

DR. MIRILASHVIL! :

CORREA;

CS:

DR. MlRlLASH\/llil:

CORREA:

DR. MlRlLASH\/ll.l:

CORREA:

CS‘.

CORREIA:

DR. MlR!LASH\/li,i:

COl‘\Rl§A:

()kay.

'l`hank you sir.

You`re welcome |`COUGHS]

What’S todav uh twentv-chcn?

 

Yeah.

Yeah. [BACKGROUND: TELEPHONE RENGS] [LONG
PAUSE] Okav_ which harmacv does he want to eo for this
medication‘?

What pharmacy do you want to go to l`or your medication?
Uh__ use [PAUSE]
{NOISE]

ls there insurance to balance the expense‘?

 

Do you have {PAU SE}

{PAUSE| exp_cnsc‘?

[PAUSE] do you have, do you have insurance to pay for your
medication‘?

No, cash

 

You want to eo where. Manhattan- Bronx?

VOICES OVERLAP

You want to go to Manhattan or...'?

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la

\JJ

10
ll

13
l4

l:)
to

CS: Manhattan_ whatever JPAUSE|

CORREA: Manhattan.

CS: EPAUSE} Manhattan.

DR. MlRILASI-I\/ii_.i: Ol~:ay. okav. lUNIN'i"ELLIGlBLlE'l.lPAUSE`l You want to

 

20 to Queens‘?

 

CS: Ycah. veah. ueens.

DR. MIRILASHV!LE: Qut_._c_:;§j_

CS: M

DR. MIRlluASI--IVJLI: Okav. INOISEI And this is the Oueens oharmacv’s name.
CORREA: He’s going to give you the name and address i`or... for the

pharmacy, which is in Qucens.
[LONG P.AUSEZ`§

DR. M`lRlLASI-iVlLI: Oi<av. Can von write for him this address please? Okav.
Write him for this address UNENTELLIG}BLI£
pharmaev... iPAUSEl telephone... JLGNG PAUSI;`]
()kav? Also UN!NTELLIGIBL,E `PAUSE

 

 

LVOICBS ovERL/u>]
CORREA: 'l`he pharmacy in Queens_. this is the phone number if" anything

DR. MlRll,ASi'l\/Il,l: 'I`ell him `NOlSl':`. UNINTELI_,EGEBLE here For
|UNENTELLIGIBLE|.

 

CGRREA: You can also come here to do...

[VOICES OVERI,AP]

CS: Olta_v.

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§ DR. MlRlLASl'lV!L[: [PAUSE~Z} therapy.
2 CS: Okay.
3 DR. MIRILASI"IV!L!: 'E`han§< you very nruch, sir. Anv §uestions'? A:W |PAUSEE
s EVOICES OVERLAP|
5 C()RREA: Do have questions IPAUSE}
6 DR. MERILASHV!LI: Questions'?
7 CORREA: {PAUSE] for him?
8 CS: Huh‘?
9 CORREA: if you have questions t`or him'?
10 CS: No, no.
lt DR. MlRli,/\SHVILI: 'l`hank vou. See you in l`our weeks
t?, CORREA: i`ll see you in four weeks Wait for him outside whife... he writes
t3 up the prescriptions
14 I)R. MERII..ASI-{VE.L!: And I"lf eive vou this one and \-'our oxveodone
15 CS: Okoy.
16 CORREA: You"re welcome
|'f {L()NG PAUSE{
ts {BACKGROUND; UNlDEN'!`[FlEDVOECES, PAPI£R Sl-IUFFLING SOUNDS1
19 'l`EI/EPI'!GNE RINGS]

30 {END OF CONVERSATEON]

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DATE:

S'I`ART TIME:

DURATION:

PARTZC!PANTS:

 
     
     

' _MERNMENIZ;
’-Ex_ursrr-
_ .13*¥2[-'¥- 'f §

- 52 14 £r.:B‘E-.D§CM}=

OSIIZ/ZGlB

0845 EDT

01 :33:44

DR. MlRiLASl-IVILI

CONF!DEN'I`[AL SOURCE
a/l</a CS

ABRAHAM CORREA

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[BEG]NNING OF CONVERSATION}

[UNDERLINED WORDS SPOKEN fN ENGLISH]

DR- MIRILASHVILI:

CS:

DR. MIRILASHVILE:

CORREA:

CS:

DR. MIRILASHVILI:

CS:

DR. MiRILASH\/ILI:

CORREA:

CS:

DR. MIRILASHVILI:

[UNINTELLIGIBLEl speak Ensziish. l-l`ow are you today
l\/l`r. Jose?

Fine.
lSOUND OF DOOR CLOSINGi

Tell me Mr. jose. lUNlN'i`BLLlGIBLEl in my office
lUNlNTELLIGlBLEl.

Your urine came out fine and you’re a good patient
Ol<ay.
{NOIS`E]

Number one. ..
Uh-huh.

[LONG PAUSE]
L£L£J§_l_@_ol_<_i_n_l@_v;f&
l~le’s going to open up your records now.
}'lum.

{LONG PAUSE]

[UNINTELLIGIBLEI todav? Humt this orinter. You see
what this printer is doing to me‘? lPAUSEl l have six. seven
to print |`PHl, lLONG PAUSEl i-Iere we ao. Ol<ay, l\/h'. lose
La Autiszua... when l saw von last time. .. you complain
vou’re lower back lower extremity uain.

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CORREA:

DR. MIRILASHVlLi:

CORREA:

DR. MIRILASHVIL¥:

CORREA:

DR. MIRILASI“iVlLi:

CORREA:

DR. MIRILASHVILI:

CORREA:

DR. MIR.ILASHV!LI:

C()RREA:

CS:

CORREA:

CS:

CORREA:

[NOESE]

W hen you came last time you were complaining about]
pain under your wa.ist_

You were receiving your ()xvcodone. thirty milligrams
three times a day.

iie’S was giving you Oxycodone, thirty milligrams, three
pilis a day.

Duranten iPHl_ a hundred miiliurams. twice a day.

Duranton [PH], a hundred miliigrams, two pills a day.

Elavii. ten milii;zrams. twice a day.

Elavii, ten iniiligranis, two pills a day.

Robaxin, seven-tifty, twice a day.

Robaxin, seven~tifty, two pills. Al"ter you [PAUSE]
|VOICES OVER.LAP|

Now~ what |PAUSE{

[PAUSE} after you take all the medication is your pain at
zero where you don’t feel it or you feel a little bit of one or
the other.

Idon’t feel it.
Zcro.
[UNIN`TELLIGI`BLE].

Are you getting side et`fects; vomiting, itching, diarrhea?

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CS:

DR. MIRILASHVELI:

CORREA:

CS:

DR. MIRILASHVILI;

CORREA:

CS:

CORREA:

DR. MiRILASHVILi`:

CORREA:

CS:

CORREA:

CS:

CORREA:

CS:

DR. MiRlLASH\/ILI:

No.
[PAUSE]
Ret`erraf.

The referral he gave you, did you afready go see that
doctor?

Uh. .. for. .. they gave me an appointment for [PAUS`E]
[VOICES OVERLAP]

Hospital. i gave him referral to hospital

When did they give you the appointment for?

For. .. uh, Octobel' fifteenth

He has his appointment for October fifteenth

Okay. What Speciaity?

What, what doctor did they give you the appointment for?

l Went to one in... in... l"iai'lem Hospital.

But for which one? For, for the IPAUSE]
[VOICES OVERLAP]

Ortho [PH].

[PAUSE} hydrotherapy elasses, for [PAUSE}

For the therapy

What about Oithopedic?

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CORREA:

CS:

CORREA:

CS:

CORREA:

CS:

CORREA:

D`R. MIR¥`LASHVILI:

CORREA:

DR. MlRILASHVfLI:

CORREA:

CORREA:

DR. MIRELASHVIL!:

CORREA:

DR. M[RlLASHVlLi:

And what happened with the Oithopedic, did you make an
appointment?

Yes, but i can’t because l’in going to travel in November
because it’s my morris death anniversaiy [PAUSE}

Oh, they gave you an [PAUSE}

Uh-huh. So {PAUSE]

{PAUSE] they gave you... they gave you an appointment
in November for that one?

Uh-huh, yes.

Thev gave him an appointment for Novernber. but
Novernber he won"t be able to because he has to reschedule
theme

Get the print out. |NOISEI

[RUSTLING SOUND]

[UNINTELL}GIBLE]. lf you can, vvalk to the wail
[U`NENTELL`JGIBLE].

Bend over.

Bend over.

Um. nothin PH .

[VOICES OVERLAP}

Come on! Colne on!

[uNiN'rat,Lioratl~:}.

Come on.

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CORREA:

DR. M`IRILASHVILI:

CORREA:

CS:

CORREA:

DR. MIRILASHVILI:

CORREA:

CS:

CORREA:

DR. MIRILASH Vi`Ll:

CORREA:

[UNINTELLIGIBLE].

lUNlNTELLI.G.IBLE] stand right here.

Stand on the back of your feet.

On the back?

No, baek, baek, Uh-huh.

On your toes.

Now forward on your toes.

Forward. [UNINTELLIGI`BLE]?
[VOICES OVERLAP]

Now bend over.

Are you doing the exercise at home?

That if you’re doing the exercises {UNlNTELLlGIBLE]

fUNINTELLiGIBLE CONVERSATION DUE, TO MUFFLED AU`DIO]

CS:

CORREA:

DR. MIRZLASHVILI:

CORREA:

DR. l\/iiRILASHVlLI:

{UNINTELLIGIBLE].
Yes.

Also tell him that meanwhile he’s also welcomed here for
physical therapy if he can afford it.

We also have therapy now and if you can come he, here it
costs one hundred dollars to see the therapist You can
come here too.

Okav? fNOlSEl Which phannaev he"s using?

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CORREA: Which pharmacy you want to go to?
CS: The one in Queens.

DR. MIRILASHVI`LI: Mana. Astoria. t:eens?

CS: M

{soUNo or noon oPaNrNiG]

 

DR. MIRiLASHVlLl: thsical therapy?
CS: Yeah. lUNiNTELLlGlBL`El.
DR. M.IRI.LASHV!LI: Okay, we can do that. [RUSTLING SOUN`D} How many

physical therapy?

[PAUSE}
Cs; {UNINTELL!GIBLE] pain {uNiNTELLIGIBLa].
ooRReA; [UN'tNTELLiGtBLE].
{RUSTLING soUNn]
[LoNG PAuse]

{BACKGROUND: UNINTELLIGIBL_E VOICES]

{END OF CONVERSAT[ON]

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DATE: 09/l 2/'2013

START TIME: 0849 Al\/l_

DURATION: 03:32:58

PART{C}PANTS: DR. l\/llRlLASl-IVILI
ABRAHAM CORREA

CONF!DENTIAL INFORMANT

a/k/a CS

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[BEGINNING OP` CONVERSATION]
[UNDERLINED WORDS SPOKEN I.N ENGLISH]
[BACKGROUND CONVERSAT.I.ON}

[SOUND PF DOOR OPENING]

[RUSTLING SOUND THROUGH OUT ENTIRE CONVERSATION]

DR. l\/liRiLASl-IVILI: Sir you [UNINTELLEGIBLE] somebody
[UN]NTEL_LIGIBLE]

CS: [UNlN'l`ELLlG[BLE]
ABRAHAM: How’s everything? La Antigua .iose. Jose? [UNINTELLIGIBLE}
CS: [UN`iNTELLlGIBLE]

DR. MlRILASH_VILl: Last time [UINTELLIG`IBLE] seeing you
[UNINTELLIGIBLE].

CS: [LAUGHS] Yeah.
DR. MIRILASHVILI: .Receipt.

ABRAHAl\/l: 'l`hat’s your receipt with today"s date and your name.
[UNINTELLIGIBLE}

DR. MIRILASHVILZ: When l saw you last time vou were complaining of your
[PAUSE] lower back lower extremity pain.

ABRAHAM`: The last time you came you were complaining about pain on your
waist.

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DR. MIRILASHV{L{: You’re receiving vour Oxvcodene. thirty milligram. three
initiate stat-

ABRAHAM: The Oxycodone, three pills a day.

DR. MiRl`LASH\/IL!: Neurontin. a hundred miliigrarns, twice a day.
ABRAHAM: Neurontin, a hundred inilligrams, two piils a day.

DR. MIRILASHVILI: Elavil. ten milligrams twice a day.

ABRAl~iAi\/l: Eiavil, ten inilligrams,_ two pills a day.

DR. MIRILASl~i\/lLI: Robax.in. Seven fifty. twice a day.

ABRAHAM: Robaxin, seven fifty, two pills a day. After you take all that

medication You have zero pain or one or two or you feel a little

CS: No, l have no pain,

ABRAHAl\/l: wade you getting side effects, itchiness, vomits, nausea?
CS: No, no.

DR. MiRiLASH\/ILI: i~lalleluiah!

CS: [LAUGHS]

DR. MIRILASI~IVILI.: You see what’s happening here now. Because of the

 

medication combination of medication I_"m giving vou. l’m able
to reduce your infiammation. Reducing vour infiamrnation l’m
able to reduce and control your pain.

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ABRAI-I`AM: With the combination of the medication what he’s doing is helping
you to reduce the iniiammation so you can feel better.

CS: Yes. (Si) !

DR. l\/IIRLLASHVILI: i did the one part of my iob to control your pain.
ABRAHAl\/I: That he did one part of his job to control your pain.
DR. MIRILASHVILI: Now i have to do second part of my iob.
ABRAHAM: Now he has to do the second part of hisjob.

.DR.M[R.[LASHVILI: To assist you to remove the cause of your pain and rebuild
maturiLl€.

 

 

ABRAi~iAl\/i: To heip you remove what is causing the pain and
{UNiNTELLIGlBLE]

DR.MIR,ILASHV[L!: Remember, l gave you a referral Did you use the referral?

ABRAHAl\/i; He gave you a referral to see Dr. [UNiNTELLIGEBLE]. Did you
go?

CS: Yes but like l told you is by appointment, by time.

ABRAHAl\/I: Did you make the appointment?

CS: Yes, is by time.

ABRAI~[AM: lie did his appointment [UNINTELLIGIBLEl

DR.MlRILASHVILI: Good. good What doctor. what specialist? The orthopedic

 

doctor. hydrotherapy doctor?

ABRAHAM: For which doctor did you make the appointment for?
l

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CS'. The bone orthopedic
ABRAHAM: 'l`he orthopedic
DR.MIR}.LASHVlLl: Ortho, hydro is pending very good. Turn to right side_ left

 

side... Motion is very good.. l"m going to check your coordination

 

ABRAHAM: l~le’s going to check your coordination Stand behind there
DR.MlRl`LASH\/ILI: {UNINTELLIGIBLE]

ABRAHAM: [UNINTELLIGIBLE]

DR.MIRILASHVIL]: Hold it. Don’t worry. On your toes.,. Okay,
{UNINTELLIGIBLE]

ABRAHAM: [-iold it. Ok.

DR.MiRlLA SHVlLi: While he waits for the appointment try to do the exercise
everyday

ABRAHAM: While you’re waiting for your appointment try to exercise at home
DR.MIRILASHVILI: Ol<ay?

CS: Alright.

DR.MIRILASHVILI: When you‘re in the shower. [UNENTELLIGIBLEi

 

bending extendina. moving around And the hot water will
improve your blood circulation Wlll help put improve
oxygenation.

ABRAHAM: Try to exercise under the hot water. So the pain
[U`NiN'l`ELLlGlBLE] and the muscle [UNINTELLIG}BLE]

rvolCE ovE.RLAP]

CS: Alright.

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DR.MIRILASHVILI: Do you want to send the medication to same pharmacv?
ABRAHAM: Are you going to use the same pharmacy

CS: Yes.

DR.M`IRILASHVILI: Ol<ay. Mana pharmacv. Mana. right?

CS: Yes.

DR.MIR_ILASHVILI: Any guestion sir?

ABKAHAM: Do you have any question?

CS: No, everything is fine.

DR.MIRILASHVILI`: Thank you very much sir. Thank you very much.

CS: Okay.

[BACKGROUND CONVERSAT£ON]

[END OF CONVERSATION]

